Case: 1:24-cv-11155 Document #: 1-1 Filed: 10/30/24 Page 1 of 20 PageID #:18




                      EXHIBIT 1
Case: 1:24-cv-11155 Document #: 1-1 Filed: 10/30/24 Page 2 of 20 PageID #:19




       Int. Cls.: 14, 16, 18, and 28
       Prior U.S. Cls.: 1, 2, 3, 5, 22, 23, 27, 28, 29, 37, 38, 41,
           d 50
       a                                                   |                         Reg. No. 2,695,996
       United       States Patent             and Trademark             Office        Registered Mar. 11, 2003

                                                 “TRADEMARK
                                              PRINCIPAL REGISTER




                                              Le Petit, Primce

     . SOCIETE    POUR   L'OEUVRE   ET   LA    MEMOIRE
         D’ANTOINE DE SAINT-EXUPERY"SUCCES-                    FIRST USE 1-27-2000; IN COMMERCE    1-27-2000.
        SION DE SAINT-EXUPERY-D’AG     AY"
        (FRANCE CORPORATION)                                FOR: TRAVEL BAGS, WALLETS, KEYHOLDERS,
      CHATEAU D'AGAY                                      CHECKHOLDERS, VANITY CASES, ATTACHE
      AGAY, 83700                                         CASES, CARHOLDERS, HAND LUGGAGES,POU-
      SAINT-RAPHABL, FRANCE                               CHES, IN CLASS 18 (U.S. CLS. 1, 2, 3, 22 AND 41).

         FOR: JEWELRY AND WATCHES , IN CLASS 14
      (US. CLS. 2, 27, 28 AND 50).
                                                               FIRST USE 1-27-2000; IN COMMERCE 1-27-2000,
        FIRST USE 1-4-1999; IN COMMERCE                      FOR: BOARD GAMES, CARD GAMES, WINDUP
                                              1-4-1999,   TOYS, SQUEEZABLE SQUEAKING TOYS, TOY
        FOR: NOTE, WRITING, FACSIMILE TRANSMIS-           WEAPONS, TOY STAMPS, TOY AND CRIB MO-
     SION PAPER; PLASTIC BAGS FOR PACKAGING;              BILES, TOY ACTION FIGURES, TOY BOXES, TOY
     CALENDARS; AND ADHESIVE BANDS FOR STA-               ACTION FIGURES AND ACCESSORIES THERE-
     TIONERY OR HOUSEHOLD PURPOSES; PHOTO-                FOR; DOLLS, DOLL ACCESSORIES, IN CLASS 28
     GRAPH ALBUMS, ANNOUNCEMENT CARDS,                    (US. CLS. 22, 23, 38 AND 50).
     BOXES FOR PENS, GREETING CARDS, DRAWING
     PENS, DRAWING SETS, ENVELOPES, PASTEL               FIRST USE 2-21-2001; IN COMMERCE 2-21-2001.
     CRAYONS, PENCIL HOLDERS, PENCILS, PENCIL -
     SHARPENERS, PENHOLDERS, PENS, POSTCARDS,            SN 75-486,823, FILED 5-19-1998,
     POSTERS, RUBBER ERASERS, RULERS, IN CLASS
     16 (U.S. CLS. 2, 5, 22, 23, 29, 37; 38 AND 50). ‘ DOMINICK. J. SALEMI, EXAMINING ATTORNEY
         Case: 1:24-cv-11155 Document #: 1-1 Filed: 10/30/24 Page 3 of 20 PageID #:20



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                         Gnuited States Patent and Trademark Office                                                                 lta


                                   The Little Primce
Reg. No. 5,706,587                  SOCIETE POUR L'OEUVRE ET LA MEMOIRE D'ANTOINE DE SAINT EXUPERY -
                                    SUCCESSION DE SAINT EXUPERY-D'AGAY (FRANCE société civile (sc) )
Registered Mar. 26, 2019            Chateau D'agay, Agay
                                    83700 Saint-raphaél, FRANCE
Int. Cl.: 2, 3, 8, 9, 11, 12,       CLASS 2: Paints, varnishes, lacquers; Preservatives against rust and against deterioration of
14, 16, 18, 20, 21, 24, 25,         wood in the nature of a coating; colorants; mordant dyes; raw natural resins; metals in foil and
                                    powder form for painters, decorators, printers and artists; fixatives for watercolors in the
26, 27, 28, 30, 32, 41              nature ofa varnish; thinners for paints; thickeners for paints; siccatives in the nature of drying
                                    agents for paints; binding preparations for paints
Service Mark
                                    CLASS 3: Bleaching preparations and washing preparations for laundry use; cleaning,
Trademark                           polishing, scouring and abrasive preparations; Soaps; perfumery, essential oils, cosmetics,
                                    hair lotions; dentifrices; bath salts, not for medical purposes; cotton sticks for cosmetic
Principal Register                  purposes; cotton wool for cosmetic purposes; potpourris in the nature of fragrances; pumice
                                    stone for personal use; sachets for perfuming linen; scented wood; non-medicated toiletry
                                    preparations; decorative transfers for cosmetic purposes

                                    CLASS 8: Tableware, namely, cutlery; Manicure sets

                                    CLASS 9: Measuring apparatus and instruments, namely, thermometers other than for
                                    medical purposes, height rulers; apparatus and instruments for the supply, distribution,
                                    transformation,    accumulation,        regulation    or   control   of electric   current,   namely,     battery
                                    chargers, mobile power supply in the nature of a rechargeable battery; apparatus for
                                    recording, transmission or reproduction of sound or images; calculating machines, data
                                    processing equipment, computers; computer software, namely, computer game software,
                                    children's educational software; DVDs,            video discs and video tapes with recorded animated
                                    cartoons; cases especially made for photographic apparatus and instruments; cell phone
                                    straps; computer peripheral devices; containers for contact lenses; covers for electric outlets;
                                    downloadable      ring    tones   for    mobile      phones;     downloadable      music      files;   electronic
                                    publications, downloadable, namely, children's books and magazines, comic books, graphic
                                    novels; decorative magnets; mouse pads; spectacle cases; spectacle frames; blank USB flash
                                    drives; audiovisual recordings featuring children's entertainment, music recordings; video
                                    recordings featuring children's entertainment; animated           films featuring children's
                                    entertainment; motion picture films featuring children's entertainment; electronic publications
                                    recorded on computer media, namely, children's books and magazines, comic books, graphic
                                    novels; battery chargers; mobile power supply in the nature of a rechargeable battery;
                                    protective covers and cases for cell phones; protective covers and cases for tablet computers

                                    CLASS 11: Lamps; Decorative lights in the nature of electrically-illuminated figurines;
                                    Apparatus for heating, namely, hot water bottles; strings of lights; luminaries; desk lamps;
                                    bedside lights, namely, electric night lights; table lamps; wall lamps; pedestal lamps; hanging
                                    lamps; pocket searchlights; lanterns for lighting; glow books in the nature of electric night
                                    lights; illuminated panels; lighting apparatus for shadow puppet theatres; electric and battery-
                                    operated night lights; lamp globes; heaters, electric, for feeding bottles
   Director of the United States
   Patent and Trademark Office      CLASS 12: Baskets adapted for cycles; cycle bells; cycle saddles; saddle covers for bicycles
                                    or motorcycles; fitted covers for baby carriages; hoods for baby carriages; safety seats for
                                    children, for vehicles;     fitted seat covers       for vehicles;    baby   carriages; strollers;     anti-theft
Case: 1:24-cv-11155 Document #: 1-1 Filed: 10/30/24 Page 4 of 20 PageID #:21
                    devices for vehicles; cycle pumps; sun-blinds adapted for automobiles

                   CLASS 14: Precious metals and their alloys and goods in precious metals or coated therewith,
                   not included in other classes, namely, figurines and works of art; jewellery, precious stones;
                   horological and chronometric instruments; cases being parts of watches and clocks; cases
                   adapted for holding watches for presentation; collectible coins; jewelry cases being caskets;
                   key rings being trinkets or fobs of precious metal; silver medals; gold medals; watch bands;
                   cases adapted for holding watches

                   CLASS       16: Paper, cardboard and goods made         from   these materials, not included in other
                   classes, namely, writing paper, bibs of paper, boxes of cardboard or paper, table linen of
                   paper, place mats of paper, coasters of paper, paper serviettes, paper handkerchiefs, paper
                   bunting, paper tags, works of art and figurines of paper and cardboard, gift wrapping paper,
                   shopping bags of paper; printed matter, namely, children’s books and magazines, comic
                   books, graphic novels, cookbooks, books for embroidery, puzzle books, writing or drawing
                   books, coloring books, activity books, exercise books, language learning books being printed
                   matter for instructional or teaching purposes, agendas, diaries, address books, notebooks, post
                   cards, greeting cards, invitation cards, collectible trading cards, novelty diplomas, photo
                   albums, event albums, sticker albums, lithographic prints, art prints; bookbinding material;
                   photographs; stationery; adhesives for stationery or household purposes; artists’ materials,
                   namely, drawing instruments, palettes for painters, artists’ watercolour saucers, painters’
                   easels, modeling materials, pastel crayons, oil pastels; paint brushes; typewriters and office
                   requisites except furniture, namely, desktop stationery cabinets, paper knives, correcting
                   tapes, correcting fluids for documents, erasers, pencil sharpeners, rubber stamps, adhesive
                   tape dispensers, holders for adhesive tapes, staplers, staples, thumbtacks, paper-clips;
                   instructional and teaching material except apparatus, namely, blackboards; plastic materials
                   for packaging not included in other classes, namely, film, bubble packs and bags; printers’
                   type; printing blocks; Holders for checkbooks; passport holders; calendars; decals and
                   stickers for use as home decor; posters; printed paper labels; prints; bookmarks; stickers;
                   temporary tattoo transfers; embroidery design patterns printed on paper; printed patterns for
                   making clothes; printed sewing patterns; Advent calendars and chocolate sold together as a
                   unit

                   CLASS 18: Leather and imitations of leather, and goods made of these materials and not
                   included in other classes, namely, suitcases, luggages, luggage tags, shoulder bags, holdalls,
                   pochettes, leather or leather-board boxes; animal skins, hides; trunks and travelling bags;
                   umbrellas    and   parasols;   walking   sticks;   whips,   harness   and   saddlery;   Attaché   cases;
                   backpacks; bags for sports; bandoliers; beach bags; bags for campers in the nature of a
                   rucksack; bags for climbers in the nature of all-purpose carrying bags; handbags; garment
                   bags for travel; key cases of leather; briefcases; calling card and business card cases being
                   notecases; pocket wallets; pouch baby carriers; purses; school bags; shopping bags of canvas;
                   sling bags for carrying infants; slings for carrying infants; unfitted vanity cases; wheeled
                   shopping bags; Belt bags and hip bags; pouches of leather; pouches made from imitation
                   leather; pouches of textile; tote bags

                   CLASS 20: Furniture, mirrors, picture frames; goods not included in other classes of wood,
                   cork, reed, cane, wicker, horn, bone, ivory, whalebone, shell, amber, mother-of-pearl,
                   meerschaum      and substitutes for all these materials, or of plastics, namely, bins, boxes,
                   figurines; Air cushions, not for medical purposes; air mattresses, not for medical purposes; air
                   pillows, not for medical purposes; baby changing mats; bedding except linen, namely, bed
                   pillows and feather beds; bolsters; chests for toys; clothes hooks, not of metal; coat hangers;
                   coathooks, not of metal; covers for clothing in the nature of wardrobes; curtain tie-backs in
                   the nature of non-textile curtain holders; cushions; furniture fittings, not of metal; door
                   fittings, not of metal; door handles, not of metal; fans for personal use, non-electric; indoor
                   window blinds being shades; infant walkers; mats for infant playpens; mobiles being
                   decoration; wind chimes being decoration; magazine racks; newspaper display stands; paper
                   blinds; pillows; playpens for babies; sleeping bags for camping; statues of wood, wax, plaster
                   or plastic; statuettes of wood, wax, plaster or plastic; works of art, of wood, wax, plaster or
                   plastic

                   CLASS 21: Household or kitchen containers; combs and sponges, namely, scrub sponges and
                   cleaning sponges; brushes except paint brushes, namely, cleaning brushes for household use;



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                   beverageware of glassware, porcelain and earthenware not included in other classes; portable
                   baby bathtubs; paper towel dispensers in the nature of boxes of metal, for household use;
                   baskets for domestic use; candy boxes; coasters other than of paper or of table linen; cookery
                   molds; cookie cutters; bread bins; cookie jars; tea caddies; salt cellars; pepper pots; sugar
                   bowls; tableware, other than knives, forks and spoons, namely, table plates, drinking glasses,
                   tumblers, bowls, cups, mugs, egg cups, tea services, coffee services, place mats, not of paper
                   or textile; tableware of porcelain, namely, cups, plates and bowls; tableware namely, bowls,
                   tumblers, tea services, coffee services, place mats, not of paper or textile; cups of paper or
                   plastic; disposable table plates; drinking vessels; bottle gourds; lunch boxes; napkin rings;
                   napkin holders; cutting boards for the kitchen; trays for domestic purposes; dustbins; perfume
                   burners; cosmetic utensils, namely, cosmetic brushes; toilet utensils, namely, toilet brushes
                   and toilet brush holder; fitted vanity cases; comb cases; soap boxes; soap holders; soap
                   dispensers; powder compacts; powder puffs; menu card holders; isothermic bags, namely,
                   thermal insulated bags for food or beverages; piggy banks, not of metal; watering cans;
                   flower pots; flower-pot covers, not of paper; works of art and figurines being statuettes of
                   porcelain, ceramics, earthenware or glassware

                   CLASS     24: Textiles and textile goods, not included in other classes, namely, household linen,
                   table linen, bath linen except clothing, travelling rugs being lap robes, sleeping bags in the
                   nature of sheeting, handkerchiefs of textile, unfitted furniture covers; bed covers; plastic table
                   covers; curtains of textile or plastic; shower curtains of textile or plastic; cloth flags; unfitted
                   furniture coverings of plastic; bed linen; bed blankets; pillowcases; fabrics for textile use;
                   interior decoration fabrics; printed fabric labels

                   CLASS 25: Clothing, namely, pullovers, shirts, pants, trousers, suits, dresses, skirts, coats,
                   parkas, jackets, vests, uniforms, ponchos, capes, infantwear, nightwear, underwear, hosiery,
                   teddies being underclothing, baby layettes for clothing, bodysuits, headscarves, neckties,
                   sashes for wear, sleepwear for babies in the nature of baby sleeping bags and sleep sacks,
                   dressing gowns, gowns, bath robes, aprons, painting aprons, suspenders, belts, money belts,
                   shawls, masquerade costumes, costumes for use in children's dress up play, gloves, mittens,
                   muffs,   ear    muffs,   footmuffs,   swimwear;   footwear;   headgear,   namely,   hats, caps, berets,
                   hoods, sun visors being headwear, headbands; Bibs, not of paper; sleep masks; Baby
                   bodysuits; hoodies being clothing; jerseys. being clothing; jumpsuits; scarves; socks;
                   sweatshirts; tops being clothing; t-shirts; tank tops

                   CLASS 26: Lace and embroidery, ribbons and braid; buttons, hooks and eyes, pins and
                   needles for sewing; artificial flowers; hair ornaments; barrettes being hair-slides; hair bands;
                   hair pins; belt clasps; brassards; brooches being clothing accessories; buckles for clothing; hat
                   ornaments, not of precious metal; haberdashery, except thread, namely, fabric appliques;
                   sewing boxes; heat adhesive patches for decoration of textile articles being haberdashery; heat
                   adhesive patches for repairing textile articles; letters for marking linen in the nature of
                   marking pins; badges for wear, not of precious metal, namely, ornamental novelty badges;
                   shoe laces; shoe omaments, not of precious metal; Appliques being haberdashery; ornamental
                   cloth patches

                   CLASS 27: Carpets, rugs, mats and matting, linoleum and other materials for covering
                   existing floors; non-textile wall hangings; Wallpaper; Wallpaper in the nature of roomsize
                   decorative adhesive wall coverings; wall coverings of paper; wall coverings of plastic; wall
                   coverings of textile

                   CLASS 28: Games and playthings, namely, robots being playthings, balls for games, soft play
                   balls, toy musical boxes, puzzle boxes, snow globes, toy picture cubes, toy stacking blocks,
                   toy tea sets, toy figures, dominoes, lottery games being parlour games, parlor games, toys
                   incorporating money boxes, magnetic spinning musical boxes being toys, spinning musical
                   boxes being toys, soft sculpture toys, dolls, cube puzzles, jigsaw puzzles, artificial Christmas
                   trees, playmats and early-learning mats for babies containing infant toys, spinning tops,
                   shadow puppet theatres being playthings for children, toy trolleys, swings, toy building
                   blocks, card games, playing cards, playing card cases, kites, rocking horses, toy swords,
                   building games, portable games with liquid crystal displays, video game machines, fairground
                   ride apparatus, puppets, swimming pools being play articles, inflatable pools for recreational
                   use, toy scooters, toy vehicles, radio-controlled toy vehicles, puzzles, board games, bowling
                   pins, plush toys, bath toys, baby gyms, toy mobiles, electronic games for the teaching of



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                   children, children's multiple activity toys, novelty toys for parties, children's dress-up
                   accessories, children's educational toys for developing fine motor, cognitive and counting
                   skills; Gymnastic and sporting articles not included in other classes except sporting articles
                   relating to tennis, badminton, squash and racquetball, particularly excluding rackets, balls,
                   strings, straps, grips, vibration dampeners, ball-throwing machines, namely, swimming belts,
                   water wings,      ice   skates,      roller skates,     in-line roller skates, trampolines;         decorations   for
                   Christmas trees

                   CLASS    30:    Coffee,       tea,    cocoa,   sugar,     rice,   tapioca,   sago, artificial     coffee;   flour and
                   preparations made from cereals, namely, cereal bars, cereal-based snack food; bread, pastry
                   and confectionery, namely, biscuits, cakes, candies being sweets, confectionery made of
                   sugar, chocolate confections, frozen confectionery, ices; honey, treacle; yeast, baking-
                   powder; salt, mustard; vinegar, sauces being condiments; spices; Cocoa-based beverages;
                   chocolate-based beverages; tea-based beverages; chocolate bars; cookies; chocolate candy for
                   use in advent calendars; candy in the nature of edible decorations for Christmas trees;
                   chocolate candy in the form of chocolate eggs

                   CLASS    32: Mineral and aerated waters and other non-alcoholic drinks, namely, beverages
                   flavored with tea, beverages flavored with coffee; fruit drinks and fruit juices; syrups for
                   making non-alcoholic beverages

                   CLASS 41: Education, namely, providing classes and seminars in the field of children's
                   entertainment; providing training in the field of children's entertainment; entertainment,
                   namely, providing play facilities for children, providing on-line interactive children's stories;
                   Booking of seats for shows; providing information about education; entertainment
                   information; games equipment rental; providing on-line electronic publications, not
                   downloadable,       namely,       children's   books      and     magazines,    comic    books,     graphic   novels;
                   publication of books; publication of electronic books and journals on-line; publication of
                   texts, other than publicity texts; rental of show scenery; rental of stage scenery; radio
                   entertainment, namely, on-going radio programs in the field of children's entertainment;
                   television entertainment, namely, on-going television programs in the field of children's
                   entertainment; rental of show scenery; rental of cine-films; toy rental; games equipment
                   rental; videotape editing; production of radio and television programmes; music-halls;
                   organization of fashion shows for entertainment purposes; operating lotteries; arranging
                   shows, namely, planning arrangement of showing shows, plays, or musical performances;
                   organization of exhibitions for cultural or educational purposes; amusement parks; lending of
                   books and other publications; film production, other than advertising films; production of
                   music; publication of printed matter, in particular books, newspapers, magazines, manuals,
                   posters and brochures; theatre productions; holiday camp services for entertainment;
                   providing on-line computer games; providing museum exhibitions; movie studios; charitable
                   services, namely, providing of books and educational material in the nature of books, puzzles,
                   and magazines to those in need

                   OWNER OF EUROPEAN                    UNION , REG. NO. 010845683, DATED 08-29-2015, EXPIRES
                   04-27-2022

                   OWNER OF EUROPEAN                    UNION , REG. NO. 013335864, DATED 10-07-2014, EXPIRES
                   04-27-2022

                   The mark consists of "The Little Prince" in a stylized form.

                   SER. NO. 87-245,525, FILED 11-22-2016




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Reg. No. 5,706,588                 SOCIETE POUR L'OEUVRE ET LA MEMOIRE D'ANTOINE DE SAINT EXUPERY -
                                   SUCCESSION DE SAINT EXUPERY-D'AGAY                     (FRANCE société civile (sc) )
Registered Mar. 26, 2019           Chateau D'agay, Agay
                                   83700 Saint-raphaél, FRANCE
Int. Cl.: 2, 3, 8, 9, 11, 12,      CLASS 2: Paints, varnishes, lacquers; metals in foil and powder form for painters, decorators,
14, 16, 18, 20, 21, 24, 25,        printers and artists

26, 27, 28, 30, 31, 32, 41         CLASS 3: Soaps; perfumery, essential oils, cosmetics, hair lotions; dentifrices; shower gels;
                                   shampoos; bath salts, not for medical purposes; cotton sticks for cosmetic purposes; cotton
Service Mark                       wool for cosmetic purposes; non-medicated toiletry preparations; decorative transfers for
                                   cosmetic purposes
Trademark
                                   CLASS 8: Tableware, namely, cutlery; cutlery for use by babies; cutlery for use by children
Principal Register                 CLASS 9: measuring apparatus and instruments, namely, thermometers other than for
                                   medical purposes; apparatus for recording, transmission or reproduction of sound or images;
                                   DVDs, video discs and video tapes with recorded animated cartoons; audiovisual recordings
                                   featuring children's entertainment; music recordings; video recordings featuring children's
                                   entertainment;   animated   films   featuring   children's   entertainment;   motion   picture   films
                                   featuring children's entertainment; calculation machines, data processing equipment and
                                   computers; computer software, namely, children's educational software; computer game
                                   software; electronic publications recorded on computer media, namely, children's books and
                                   magazines, comic books, graphic novels; electronic publications, downloadable, namely,
                                   children's books and magazines, comic books, graphic novels; panels for wall switches,
                                   namely, electric switch plates; magnets; graduated rulers; decorative magnets; height rulers in
                                   the nature of measuring instruments; portable media players; headphones; loudspeakers;
                                   computer peripheral devices; blank USB flash drives; sleeves for laptops; mouse pads; mobile
                                   telephone apparatus; mobile phone cases; mobile phone covers; spectacle cases; containers
                                   for contact lenses; telescopes; cases especially made for photographic apparatus and
                                   instruments; spectacle frames

                                   CLASS 11: lighting apparatus, namely, decorative lights in the nature of electrically
                                   illuminated figurines; heating apparatus, namely, hot water bottles; strings of lights;
                                   luminaries; lamps;   string lights for festive decoration; desk lamps; bedside lights, namely,
   Director of the United States   electric night lights; table lamps; wall lamps; pedestal lamps; hanging lamps; pocket
   Patent and Trademark Office     searchlights; lanterns for lighting; glow books in the nature of electric night lights;
                                   illuminated panels; lighting apparatus for shadow puppet theatres; electric and battery-
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                   operated night lights; lamp globes; heaters, electric, for feeding bottles

                   CLASS 12: fitted seat covers for vehicles; strollers; safety seats for children, for vehicles

                   CLASS 14: Precious metals and their alloys and goods in precious metals or coated therewith,
                   not included in other classes, namely, figurines and works of art; jewellery, precious stones;
                   horological and chronometric instruments; rings being jewellery; boxes of precious metal;
                   jewellery boxes; jewelry cases being caskets; jewellery bracelets; brooches being jewellery;
                   necklaces being jewellery; clocks; medals; medals made of precious metals; silver medals;
                   gold medals; watches; lapel pins; pins being jewellery; novelty key rings; key rings of
                   precious metal; alarm clocks; statuettes, figurines and works of art of precious metal; chains
                   being jewellery; cuff links; tie pins; cases being parts of watches and clocks; cases for holding
                   watches for presentation; collectible coins; watch bands; cases adapted for holding watches

                   CLASS 16: Paper, cardboard and goods made from these materials, not included in other
                   classes, namely, table linen of paper; printed matter, namely, children's books and magazines,
                   graphic novels, books for embroidery, exercise books, art prints; bookbinding material;
                   photographs; stationery; adhesives for stationery or household purposes; artists' materials,
                   namely, drawing instruments, palettes for painters, artists’ watercolour saucers, pastel
                   crayons, oil pastels; paint brushes; typewriters and office requisites except furniture, namely,
                   desktop stationery cabinets, correcting tapes, correcting fluids for documents, erasers, rubber
                   stamps, adhesive tape dispensers, holders for adhesive tapes, staplers, staples, thumbtacks,
                   paper-clips; plastic materials for packaging not included in other classes, namely, film, bubble
                   packs and bags; printers' type; printing blocks; posters; agenda books; loose-leaf diaries being
                   tear-off calendars; school diaries; photographic albums; wedding albums; baby books;
                   nursery albums in the nature of photo books; sticker albums; trading cards and stickers; bibs
                   of paper; paper memo pad cubes; pocket memorandum books; writing paper pads; boxes of
                   paper or cardboard; writing or drawing books; activity books; language leaming books being
                   printed matter for instructional or teaching purposes; colouring books; notebooks; calendars;
                   advent calendars; address pads in the nature address books; secret notebook; birthday cards;
                   christmas cards; musical greeting cards; greetings cards; invitation cards; postcards;
                   padfolios; exercise-book covers; pencils; drawing pencil; wax crayons; color pencils; paper
                   drinks coasters, paper place mats; novelty diplomas; envelopes being stationery; paper tags;
                   paper gift tags; announcement cards being stationery; occasion cards; birth announcement
                   cards being stationery; paper sheets being stationery; rubber erasers; paper bunting;
                   lithographs; books for children; cookbooks; bookmarks; palettes for painters; writing paper;
                   gift wrapping paper; school photographs; pen cases; stencil plates; paperweights; pencil cups
                   in the nature of pencil holders; drafting and drawing rulers; shopping bags of paper;
                   bookends; paper serviettes; table mats of paper or cardboard; fountain pens; blackboards;
                   pencil sharpeners; inking pads; removable tattoos being decalcomanias; ink stamps; school
                   pencil cases; window stickers; aquarelles; writing slates; comic strips; painters’ easels;
                   desktop cabinets for stationery being office requisites; letter trays; paper knives being office
                   requisites; writing chalk; works of art being figurines in the nature of statuettes of papier
                   maché; wirebound books; modelling materials for use by children; handkerchiefs of paper;
                   tablecloths of paper; drawing pens; pen nibs; Decals and stickers for use as home decor;
                   printed paper labels; prints; embroidery design patterns printed on paper; printed patterns for
                   making clothes; printed sewing patterns; holders for checkbooks; passport holders; bath
                   books, namely, children's books featuring waterproof pages and covers; textile early-learning
                   books for children; educational publications, namely, puzzle books for children; Advent
                   calendars and chocolate sold together as a unit

                   CLASS 18: Leather and imitations of leather, and goods made of these materials and not
                   included in other classes, namely, suitcases, luggage, luggage tags; trunks and travelling bags;
                   umbrellas and parasols; walking sticks; whips, hamess and saddlery; school bags; holdalls;
                   pochettes; key holders in the form of cases; pocket wallets; purses; shoulder bags; backpacks;
                   handbags; school bags; beach bags; all purpose sport bags; bags for campers in the nature of a
                   rucksack; bags for climbers in the nature of all-purpose carrying bags; shopping bags of
                   canvas; reusable shopping bags for groceries; work bags in the nature of briefcases; wheeled
                   shopping bags; belt bags and hip bags; toiletry cases sold empty; valises; boxes of leather;
                   slings for carrying infants; key cases; attaché cases; briefcases; pouch baby carriers; leather
                   travelling sets comprised of suitcases; Bandoliers; garment bags for travel; calling card and
                   business card cases being notecases; pouches of leather; pouches made from imitation leather;



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                   pouches of textile; tote bags; sling bags for carrying infants

                   CLASS    20: Furniture,    mirrors, picture frames; Bins of wood       or plastic; boxes of wood or
                   plastic for the storage of playthings; photograph frames; chairs being seats; highchairs for
                   babies; chests for toys; cushions; armchairs; works of art and figurines being statuettes of
                   wood, wax, plaster or plastic; figurines being statuettes of wood resin; figurines being
                   statuettes of cold cast resin; figurines being statuettes of synthetic resin; bed fittings, not of
                   metal; bumpers and valances being bed fittings, not of metal; kitchen furniture; furniture for
                   storage; personal compact mirrors; pillows; clothes hooks not of metal; curtain tie-backs in
                   the nature of non-textile curtain holders; non-metal key rings; display boards; tables being
                   furniture; stools; baby changing mats; mats for infant playpens; cots; picture mouldings being
                   frames; settees; sofas; beds; cribs; school furniture; playpens for babies; sleeping bags; infant
                   walkers; Air cushions, not for medical purposes; air mattresses, not for medical purposes; air
                   pillows, not for medical purposes; bedding except linen, namely, bed pillows and feather
                   beds; bolsters; coat hangers; coathooks, not of metal; covers for clothing in the nature of
                   wardrobes; furniture fittings, not of metal; door fittings, not of metal; fans for personal use,
                   non-electric; indoor window blinds being shades; mobiles being decoration; wind chimes
                   being decoration; magazine racks; newspaper display stands; spreading boards in the nature
                   of display boards

                   CLASS 21: Household or kitchen containers; combs and sponges, namely, scrub sponges and
                   cleaning sponges; brushes except paint brushes, namely, cleaning brushes for household use;
                   beverageware of glassware, porcelain and earthenware not included in other classes; works of
                   art and figurines being statuettes of porcelain, ceramics, earthenware or glassware; decorative
                   enamel eggs; table plates; plates of porcelain; melamine plates; boxes made of glass,
                   porcelain, ceramic or earthenware; household containers, namely, enamel boxes; household
                   containers, namely, tooth boxes for storing baby teeth; soap boxes; picnic boxes, namely,
                   picnic baskets sold empty; lunch boxes; cookie jars; bread bins; tea caddies; candy boxes;
                   basins being bowls; vases of porcelain; melamine bowls; bowls with suction cups; egg cups;
                   coasters other than of paper or of table linen; dispensers for paper towels for household use;
                   cookie cutters; bottle gourds; mugs; mugs of porcelain; mugs of melamine; trays for domestic
                   purposes; napkin rings; cups; drinking mugs made of porcelain; cups of melamine; tableware,
                   other than knives, forks and spoons, namely, bowls, tumblers, tea services, coffee services,
                   place mats, not of paper or textile; drinking glasses being receptacles; enamel storage tidies in
                   the nature of storage containers for household use; piggy banks; toothbrushes; containers for
                   toothbrushes, namely, toothbrush cases; stands for tooth brushes, namely, toothbrush holders;
                   perfume burners; waste paper baskets; drinking straws; bread boards; pepper pots; salt cellars;
                   dustbins; thermally insulated containers for foods and beverages; isothermic bags, namely,
                   thermal insulated bags for food or beverages; baby bathtubs; tumblers of silver-plated metal
                   in the nature of drinking vessels; Baskets for domestic use; cookery molds; sugar bowls;
                   disposable table plates; drinking vessels; napkin holders; cutting boards for the kitchen;
                   cosmetic utensils, namely, cosmetic brushes; toilet utensils, namely, toilet brushes and toilet
                   brush   holder;   fitted vanity   cases; comb     cases;   soap holders;   soap dispensers;    powder
                   compacts; powder puffs; menu card holders; watering cans; flower pots; flower-pot covers,
                   not of paper; cups adapted for feeding babies and children

                   CLASS    24: Textiles and textile goods, not included in other classes, namely, household linen;
                   bed covers; plastic table covers; bath capes, namely, hooded towels being bath linen; quilts;
                   textile coasters; bedsheets; bed pads; covers for duvets; covers for cushions; travelling rugs
                   being lap robes; curtains of textile or plastic; shower curtains of textile or plastic; towels
                   and/or napkins of textile; place mats, not of paper; pillowcases; net curtains; bed linen; bath
                   linen, except clothing; table linen, not of paper; handkerchiefs of textile; sleeping bags in the
                   nature of sheeting; unfitted chair covers; unfitted sofa covers; cloth flags; unfitted furniture
                   coverings of plastic; fabrics for textile use; interior decoration fabrics; printed fabric labels

                   CLASS    25: Clothing namely, pullovers,        shirts, pants, trousers, suits, dresses, skirts, coats,
                   parkas, jackets, vests, uniforms, ponchos, capes, infantwear, nightwear, hosiery, teddies being
                   underclothing, baby layettes for clothing, headscarves, bath robes, aprons, money belts,
                   costumes for use in children's dress up play, mittens, muffs, ear muffs, footmuffs, swimwear;
                   footwear, headgear, namely, hats, berets, hoods, sun visors being headwear, headbands; bibs,
                   not of paper; bodysuits; caps being headwear; Christmas hats; headscarves of silk; footwear
                   for sport; footwear of plastic; neckties; silk ties; sashes for wear; sleepwear for babies in the




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                    nature of baby sleeping bags and sleep sacks; dressing gowns; pyjamas; gowns; painting
                    aprons; t-shirt; infantwear; suspenders; belts being clothing; shawls; socks; slippers;
                    masquerade        costumes;    scarfs; gloves for clothing; swimsuits; underwear,            baby bodysuits;
                    hoodies being clothing; jerseys being clothing; jumpsuits; sweatshirts, tops being clothing;
                    tank tops; sleep masks

                    CLASS       26:   Lace   and embroidery,      ribbons    and   braid;   buttons, hooks and eyes, pins and
                    needles for sewing; artificial flowers; ornamental novelty badges being buttons; brooches for
                    clothing;    hair ornaments;      barrettes   being     hair-slides;    hair bands;   hair pins; belt clasps;
                    brassards; buckles for clothing; hat ornaments, not of precious metal; haberdashery, except
                    thread, namely, fabric appliques; sewing boxes; heat adhesive patches for decoration of textile
                    articles being haberdashery; heat adhesive patches for repairing textile articles; letters for
                    marking linen in the nature of marking pins; badges for wear, not of precious metal, namely,
                    ornamental novelty badges; shoe laces; shoe omaments, not of precious metal; Appliques
                    being haberdashery; ornamental cloth patches

                    CLASS 27: Carpets, rugs, mats and matting, linoleum and other materials for covering
                    existing floors; non-textile wall hangings; Wallpaper; Wallpaper in the nature of roomsize
                    decorative adhesive wall coverings; wall coverings of paper; wall coverings of plastic; wall
                    coverings of textile

                    CLASS 28: Games and playthings, namely, puzzles, board games, card games, bowling pins,
                    plush toys, bath toys, baby gyms, toy mobiles, electronic games for the teaching of children,
                    children's multiple activity toys, novelty toys for parties, children's dress-up accessories,
                    children's educational toys for developing fine motor, cognitive and counting skills;
                    decorations for Christmas trees; robots being playthings; balls for games; soft play balls; toy
                    musical boxes; puzzle boxes; snow globes; baubles for decorating Christmas trees; stockings
                    for Christmas presents; toy picture cubes; toy stacking blocks; toy tea sets; toy figures; tinsel
                    for decorating Christmas trees; dominoes; lottery games being parlour games; parlor games;
                    toys incorporating money boxes; magnetic spinning musical boxes being toys; spinning
                    musical boxes being toys; soft sculpture toys; dolls; cube puzzles; jigsaw puzzles; artificial
                    Christmas trees; playmats and early-learning mats for babies containing infant toys; spinning
                    tops; shadow puppet theatres being playthings for children; toy trolleys; swings; toy building
                    blocks; playing cards; playing card cases; swimming belts; kites; rocking horses; toy swords;
                    water wings; building games; portable games with liquid crystal displays; video game
                    machines; fairground ride apparatus; puppets; ice skates; roller skates; in-line roller skates;
                    swimming pools being play articles; inflatable pools for recreational use; trampolines; toy
                    scooters; toy vehicles; radio-controlled toy vehicles

                    CLASS 30: Coffee, tea, cocoa and artificial coffee; rice; tapioca and sago; flour and
                    preparations made from cereals, namely, cereal bars, cereal-based snack food; bread, pastry
                    and confectionery, namely, biscuits, cakes, candies being sweets, confectionery made of
                    sugar, chocolate confections, frozen confectionery; sugar, honey, treacle; yeast, baking-
                    powder; salt; mustard; vinegar, sauces; chocolate bars; cookies; chocolate candy for use in
                    advent calendars; candy in the nature of edible decorations for Christmas trees; chocolate
                    candy in the form of chocolate eggs; Cocoa-based beverages; chocolate-based beverages; tea-
                    based beverages

                    CLASS 31: plant seeds, seeds for flowers; natural plants and flowers; live trees; baobabs
                    trees; unprocessed seed grains; baobab seeds; cut, natural Christmas trees

                    CLASS 32: Mineral and aerated waters and other non-alcoholic beverages, namely, beverages
                    flavored with tea, beverages flavored with coffee; fruit beverages and fruit juices; syrups for
                    making non-alcoholic beverages

                    CLASS       41:   Education,    namely,   providing     classes and      seminars in the field of children's
                    entertainment; providing training in the field of children's entertainment; entertainment,
                    namely, providing play facilities for children, providing on-line interactive children’s stories;
                    radio entertainment, namely, on-going radio programs in the field of children’s entertainment;
                    television entertainment, namely, on-going television programs in the field of children's
                    entertainment; entertainment information;             providing information       about education; rental of
                    show scenery; rental of cine-films; toy rental; games equipment rental; providing on-line




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                    electronic publications, not downloadable, namely, children's books and magazines, comic
                    books, graphic novels; videotape editing; production of radio and television programmes;
                    music-halls; organization of fashion shows for entertainment purposes; operating lotteries;
                    arranging of shows, namely, planning arrangement of showing shows, plays, or musical
                    performances; organization of exhibitions for cultural or educational purposes; amusement
                    parks; lending of books and other publications; film production, other than advertising films;
                    production of music; publication of printed matter, in particular books, newspapers,
                    magazines, manuals, posters and brochures; theatre productions; holiday camp services for
                    entertainment; providing on-line computer games; providing museum exhibitions; movie
                    studios; charitable services, namely, providing of books, educational material in the nature of
                    books, puzzles, magazines to those in need

                    The color(s) light brown, orange, yellow, green, red, and grey is/are claimed as a feature of
                    the mark.

                    OWNER OF EUROPEAN UNION , REG. NO. 012095337, DATED 01-21-2014, EXPIRES
                    08-28-2023

                    The mark consists of a stylized image of a young boy wearing a bow tie. The young boy has
                    both hands at his sides. The boy has yellow and orange hair, red cheeks, bow tie and belt,
                    green clothes, light brown skin, grey eyes, nose and mouth, and grey shoes. The mark is
                    outlined in grey.

                    SER. NO. 87-245,632, FILED 11-22-2016




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qawited States of Ame,
                        Gnited States Patent and Trademark Office                                                             lly




Reg. No. 5,706,589                 SOCIETE POUR L'OEUVRE ET LA MEMOIRE D'ANTOINE DE SAINT EXUPERY -
                                   SUCCESSION DE SAINT EXUPERY-D'AGAY (FRANCE société civile (sc) )
Registered Mar. 26, 2019           Chateau D'agay, Agay
                                   83700 Saint-raphaél, FRANCE
Int. CL: 2, 3, 8, 9, 11, 12,       CLASS 2: Paints, varnishes, lacquers; metals in foil and powder form for painters, decorators,
14, 16, 18, 20, 21, 24, 25,        printers and artists

26, 27, 28, 30, 31, 32, 41         CLASS 3: Soaps; perfumery, essential oils, cosmetics, hair lotions; dentifrices; shower gels;
                                   shampoos; bath salts, not for medical purposes; cotton sticks for cosmetic purposes; cotton
Service Mark                       wool for cosmetic purposes; non-medicated toiletry preparations; decorative transfers for
                                   cosmetic purposes
Trademark
                                   CLASS 8: Tableware, namely, cutlery; cutlery for use by babies; cutlery for use by children
Principal Register                 CLASS 9: measuring apparatus and instruments, namely, thermometers other than for
                                   medical purposes; apparatus for recording, transmission or reproduction of sound or images;
                                   DVDs, video discs and video tapes with recorded animated cartoons; audiovisual recordings
                                   featuring children's entertainment; music recordings; video recordings featuring children's
                                   entertainment; animated films featuring children's entertainment; motion picture films
                                   featuring children's entertainment; calculation machines, data processing equipment and
                                   computers; computer software, namely, children's educational software; computer game
                                   software; electronic publications recorded on computer media, namely, children's books and
                                   magazines, comic books, graphic novels; electronic publications, downloadable, namely,
                                   children's books and magazines, comic books, graphic novels; panels for wall switches,
                                   namely, electric switch plates; magnets; graduated rulers; decorative magnets; height rulers in
                                   the   nature   of measuring   instruments;    portable   media   players;    headphones;    loudspeakers;
                                   computer peripheral devices; blank USB flash drives; sleeves for laptops; mouse pads; mobile
                                   telephone apparatus; mobile phone cases; mobile phone covers; spectacle cases; containers
                                   for contact lenses; telescopes;       cases    especially   made    for     photographic   apparatus   and
                                   instruments; spectacle frames

                                   CLASS 11: lighting apparatus, namely, decorative lights in the nature of electrically
                                   illuminated figurines; heating apparatus, namely, hot water bottles; strings of lights;
                                   luminaries; lamps; string lights for festive decoration; desk lamps; bedside lights, namely,
   Director of the United States   electric night lights; table lamps; wall lamps; pedestal lamps; hanging lamps; pocket
   Patent and Trademark Office     searchlights; lanterns for lighting; glow books in the nature of electric night lights;
                                   illuminated panels; lighting apparatus for shadow puppet theatres; electric and battery-
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                    operated night lights; lamp globes; heaters, electric, for feeding bottles

                    CLASS 12: fitted seat covers for vehicles; strollers; safety seats for children, for vehicles

                    CLASS 14: Precious metals and their alloys and goods in precious metals or coated therewith,
                    not included in other classes, namely, figurines and works of art; jewellery, precious stones;
                    horological and chronometric instruments; rings being jewellery; boxes of precious metal;
                    jewellery boxes; jewelry cases being caskets; jewellery bracelets; brooches being jewellery;
                    necklaces being jewellery; clocks; medals; medals made of precious metals; silver medals;
                    gold medals; watches; lapel pins; pins being jewellery; novelty key rings; key rings of
                    precious metal; alarm clocks; statuettes, figurines and works of art of precious metal; chains
                    being jewellery; cuff links; tie pins; cases being parts of watches and clocks; cases for holding
                    watches for presentation; collectible coins; watch bands; cases adapted for holding watches

                    CLASS       16: Paper, cardboard and goods made           from these materials, not included in other
                    classes, namely, table linen of paper; printed matter, namely, children's books and magazines,
                    graphic   novels,   books   for embroidery,    exercise books,        art prints;   bookbinding      material;
                    photographs; stationery; adhesives for stationery or household purposes; artists’ materials,
                    namely, drawing instruments, palettes for painters, artists’ watercolour saucers, pastel
                    crayons, oil pastels; paint brushes; typewriters and office requisites except furniture, namely,
                    desktop stationery cabinets, correcting tapes, correcting fluids for documents, erasers, rubber
                    stamps, adhesive tape dispensers, holders for adhesive tapes, staplers, staples, thumbtacks,
                    paper-clips; plastic materials for packaging not included in other classes, namely, film, bubble
                    packs and bags; printers’ type; printing blocks; posters; agenda books; loose-leaf diaries being
                    tear-off calendars;    school   diaries;   photographic     albums;     wedding     albums;   baby     books;
                    nursery albums in the nature of photo books; sticker albums; trading cards and stickers; bibs
                    of paper; paper memo pad cubes; pocket memorandum books; writing paper pads; boxes of
                    paper or cardboard; writing or drawing books; activity books; language learning books being
                    printed matter for instructional or teaching purposes; colouring books; notebooks; calendars;
                    advent calendars; address pads in the nature address books; secret notebook; birthday cards;
                    christmas cards; musical greeting cards; greetings cards; invitation cards; postcards;
                    padfolios; exercise-book covers; pencils; drawing pencil; wax crayons; color pencils; paper
                    drinks coasters, paper place mats; novelty diplomas; envelopes being stationery; paper tags;
                    paper gift tags; announcement cards being stationery; occasion cards; birth announcement
                    cards being stationery; paper sheets being stationery; rubber erasers; paper bunting;
                    lithographs; books for children; cookbooks; bookmarks; palettes for painters; writing paper;
                    gift wrapping paper; school photographs; pen cases; stencil plates; paperweights; pencil cups
                    in the nature of pencil holders; drafting and drawing rulers; shopping bags of paper;
                    bookends;     paper serviettes; table mats of paper or cardboard;            fountain pens; blackboards;
                    pencil sharpeners; inking pads; removable tattoos being decalcomanias, ink stamps; school
                    pencil cases; window stickers; aquarelles; writing slates; comic strips; painters’ easels;
                    desktop cabinets for stationery being office requisites; letter trays; paper knives being office
                    requisites; writing chalk; works of art being figurines in the nature of statuettes of papier
                    maché; wirebound books; modelling materials for use by children; handkerchiefs of paper;
                    tablecloths of paper; drawing pens; pen nibs; Decals and stickers for use as home decor;
                    printed paper labels; prints; embroidery design patterns printed on paper; printed patterns for
                    making clothes; printed sewing patterns; holders for checkbooks; passport holders; bath
                    books, namely, children's books featuring waterproof pages and covers; textile early-learning
                    books for children;     educational   publications,   namely,    puzzle     books    for children;    Advent
                    calendars and chocolate sold together as a unit

                    CLASS 18: Leather and imitations of leather, and goods made of these materials and not
                    included in other classes, namely, suitcases, luggage, luggage tags; trunks and travelling bags;
                    umbrellas and parasols; walking sticks; whips, harness and saddlery; school bags; holdalls;
                    pochettes; key holders in the form of cases; pocket wallets; purses; shoulder bags; backpacks;
                    handbags; school bags; beach bags; all purpose sport bags; bags for campers in the nature of a
                    rucksack; bags for climbers in the nature of all-purpose carrying bags; shopping bags of
                    canvas; reusable shopping bags for groceries; work bags in the nature of briefcases; wheeled
                    shopping bags; belt bags and hip bags; toiletry cases sold empty; valises; boxes of leather;
                    slings for carrying infants; key cases; attaché cases; briefcases; pouch baby carriers; leather
                    travelling sets comprised of suitcases; Bandoliers; garment bags for travel; calling card and
                    business card cases being notecases; pouches of leather; pouches made from imitation leather;



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                    pouches of textile; tote bags; sling bags for carrying infants

                    CLASS    20: Furniture,   mirrors, picture frames; Bins of wood       or plastic; boxes of wood     or
                    plastic for the storage of playthings; photograph frames; chairs being seats; highchairs for
                    babies; chests for toys; cushions; armchairs; works of art and figurines being statuettes of
                    wood, wax, plaster or plastic; figurines being statuettes of wood resin; figurines being
                    statuettes of cold cast resin; figurines being statuettes of synthetic resin; bed fittings, not of
                    metal; bumpers and valances being bed fittings, not of metal; kitchen furniture; furniture for
                    storage; personal compact mirrors; pillows; clothes hooks not of metal; curtain tie-backs in
                    the nature of non-textile curtain holders; non-metal key rings; display boards; tables being
                    furniture; stools; baby changing mats; mats for infant playpens; cots; picture mouldings being
                    frames; settees; sofas; beds; cribs; school furniture; playpens for babies; sleeping bags; infant
                    walkers; Air cushions, not for medical purposes; air mattresses, not for medical purposes; air
                    pillows, not for medical purposes; bedding except linen, namely, bed pillows and feather
                    beds; bolsters; coat hangers; coathooks,      not of metal; covers    for clothing in the nature of
                    wardrobes; furniture fittings, not of metal; door fittings, not of metal; fans for personal use,
                    non-electric; indoor window blinds being shades; mobiles being decoration; wind chimes
                    being decoration; magazine racks; newspaper display stands; spreading boards in the nature
                    of display boards

                    CLASS 21: Household or kitchen containers; combs and sponges, namely, scrub sponges and
                    cleaning sponges; brushes except paint brushes, namely, cleaning brushes for household use;
                    beverageware of glassware, porcelain and earthenware not included in other classes; works of
                    art and figurines being statuettes of porcelain, ceramics, earthenware or glassware; decorative
                    enamel eggs; table plates; plates of porcelain; melamine plates; boxes made of glass,
                    porcelain, ceramic or earthenware; household containers, namely, enamel boxes; household
                    containers, namely, tooth boxes for storing baby teeth; soap boxes; picnic boxes, namely,
                    picnic baskets sold empty; lunch boxes; cookie jars; bread bins; tea caddies; candy boxes;
                    basins being bowls; vases of porcelain; melamine bowls; bowls with suction cups; egg cups;
                    coasters other than of paper or of table linen; dispensers for paper towels for household use;
                    cookie cutters; bottle gourds; mugs; mugs of porcelain; mugs of melamine; trays for domestic
                    purposes; napkin rings; cups; drinking mugs made of porcelain; cups of melamine; tableware,
                    other than knives, forks and spoons, namely, bowls, tumblers, tea services, coffee services,
                    place mats, not of paper or textile; drinking glasses being receptacles; enamel storage tidies in
                    the nature of storage containers for household use; piggy banks; toothbrushes; containers for
                    toothbrushes, namely, toothbrush cases; stands for tooth brushes, namely, toothbrush holders;
                    perfume burners; waste paper baskets; drinking straws; bread boards; pepper pots; salt cellars;
                    dustbins; thermally insulated containers for foods and beverages; isothermic bags, namely,
                    thermal insulated bags for food or beverages; baby bathtubs; tumblers of silver-plated metal
                    in the nature of drinking vessels; Baskets for domestic use; cookery molds; sugar bowls;
                    disposable table plates; drinking vessels; napkin holders; cutting boards for the kitchen;
                    cosmetic utensils, namely, cosmetic brushes; toilet utensils, namely, toilet brushes and toilet
                    brush holder; fitted vanity cases; comb cases; soap holders; soap dispensers; powder
                    compacts; powder puffs; menu card holders; watering cans; flower pots; flower-pot covers,
                    not of paper; cups adapted for feeding babies and children

                    CLASS 24: Textiles and textile goods, not included in other classes, namely, household linen;
                    bed covers; plastic table covers; bath capes, namely, hooded towels being bath linen; quilts;
                    textile coasters; bedsheets; bed pads; covers for duvets; covers for cushions; travelling rugs
                    being lap robes; curtains of textile or plastic; shower curtains of textile or plastic; towels
                    and/or napkins of textile; place mats, not of paper; pillowcases; net curtains; bed linen; bath
                    linen, except clothing; table linen, not of paper; handkerchiefs of textile; sleeping bags in the
                    nature of sheeting; unfitted chair covers; unfitted sofa covers; cloth flags; unfitted furniture
                    coverings of plastic; fabrics for textile use; interior decoration fabrics; printed fabric labels

                    CLASS 25: Clothing namely, pullovers, shirts, pants, trousers, suits, dresses, skirts, coats,
                    parkas, jackets, vests, uniforms, ponchos, capes, infantwear, nightwear, hosiery, teddies being
                    underclothing, baby layettes for clothing, headscarves, bath robes, aprons, money               belts,
                    costumes for use in children’s dress up play, mittens, muffs, ear muffs, footmuffs, swimwear;
                    footwear, headgear, namely, hats, berets, hoods, sun visors being headwear, headbands; bibs,
                    not of paper; bodysuits; caps being headwear; Christmas hats; headscarves of silk; footwear
                    for sport; footwear of plastic; neckties; silk ties; sashes for wear; sleepwear for babies in the



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                    nature of baby sleeping bags and sleep sacks; dressing gowns; pyjamas; gowns; painting
                    aprons; t-shirt; infantwear; suspenders; belts being clothing; shawls; socks; slippers;
                    masquerade costumes; scarfs; gloves for clothing; swimsuits; underwear; baby bodysuits;
                    hoodies being clothing; jerseys being clothing; jumpsuits; sweatshirts; tops being clothing;
                    tank tops; sleep masks

                    CLASS    26:   Lace   and     embroidery,        ribbons    and braid;   buttons, hooks and eyes, pins and
                    needles for sewing; artificial flowers; omamental novelty badges being buttons; brooches for
                    clothing; hair ornaments; barrettes being hair-slides; hair bands; hair pins; belt clasps;
                    brassards; buckles for clothing; hat ornaments, not of precious metal; haberdashery, except
                    thread, namely, fabric appliques; sewing boxes; heat adhesive patches for decoration of textile
                    articles being haberdashery; heat adhesive patches for repairing textile articles; letters for
                    marking linen in the nature of marking pins; badges for wear, not of precious metal, namely,
                    ornamental novelty badges; shoe laces; shoe omaments, not of precious metal; Appliques
                    being haberdashery; ornamental cloth patches

                    CLASS 27: Carpets, rugs, mats and matting, linoleum and other materials for covering
                    existing floors; non-textile wall hangings; Wallpaper; Wallpaper in the nature of roomsize
                    decorative adhesive wall coverings; wall coverings of paper; wall coverings of plastic; wall
                    coverings of textile

                    CLASS 28: Games and playthings, namely, puzzles, board games, card games, bowling pins,
                    plush toys, bath toys, baby gyms, toy mobiles, electronic games for the teaching of children,
                    children's multiple activity toys, novelty toys for parties, children's dress-up accessories,
                    children's educational toys for developing fine motor, cognitive and counting skills;
                    decorations for Christmas trees; robots being playthings; balls for games; soft play balls; toy
                    musical boxes; puzzle boxes; snow globes; baubles for decorating Christmas trees; stockings
                    for Christmas presents; toy picture cubes; toy stacking blocks; toy tea sets; toy figures; tinsel
                    for decorating Christmas trees; dominoes; lottery games being parlour games; parlor games;
                    toys incorporating money boxes; magnetic spinning musical boxes being toys; spinning
                    musical boxes being toys; soft sculpture toys; dolls; cube puzzles; jigsaw puzzles; artificial
                    Christmas trees; playmats and early-learning mats for babies containing infant toys; spinning
                    tops; shadow puppet theatres being playthings for children; toy trolleys; swings; toy building
                    blocks; playing cards; playing card cases; swimming belts; kites; rocking horses; toy swords;
                    water wings; building games; portable games with liquid crystal displays; video game
                    machines; fairground ride apparatus; puppets; ice skates; roller skates; in-line roller skates;
                    swimming pools being play articles; inflatable pools for recreational use; trampolines; toy
                    scooters; toy vehicles; radio-controlled toy vehicles

                    CLASS    30:   Coffee,      tea,   cocoa   and     artificial coffee;    rice;    tapioca   and   sago;   flour and
                    preparations made from cereals, namely, cereal bars, cereal-based snack food; bread, pastry
                    and confectionery,    namely,       biscuits, cakes,        candies   being      sweets, confectionery made      of
                    sugar, chocolate confections, frozen confectionery; sugar, honey, treacle; yeast, baking-
                    powder; salt; mustard; vinegar, sauces; chocolate bars; cookies; chocolate candy for use in
                    advent calendars; candy in the nature of edible decorations for Christmas trees; chocolate
                    candy in the form of chocolate eggs; Cocoa-based beverages; chocolate-based beverages; tea-
                    based beverages

                    CLASS 31: plant seeds, seeds for flowers; natural plants and flowers; live trees; baobabs
                    trees; unprocessed seed grains; baobab seeds; cut, natural Christmas trees

                    CLASS 32: Mineral and aerated waters and other non-alcoholic beverages, namely, beverages
                    flavored with tea, beverages flavored with coffee; fruit beverages and fruit juices; syrups for
                    making non-alcoholic beverages

                    CLASS    41:   Education,      namely,     providing       classes and   seminars      in the field of children's
                    entertainment; providing training in the field of children's entertainment; entertainment,
                    namely, providing play facilities for children, providing on-line interactive children's stories;
                    radio entertainment, namely, on-going radio programs in the field of children's entertainment;
                    television entertainment, namely, on-going television programs in the field of children’s
                    entertainment; entertainment         information; providing information               about education; rental of
                    show scenery; rental of cine-films; toy rental; games equipment rental; providing on-line




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Case: 1:24-cv-11155 Document #: 1-1 Filed: 10/30/24 Page 16 of 20 PageID #:33
                    electronic publications, not downloadable,    namely, children's books and magazines, comic
                    books, graphic novels; videotape editing; production of radio and television programmes;
                    music-halls; organization of fashion shows for entértainment purposes; operating lotteries;
                    arranging of shows, namely, planning arrangement of showing shows, plays, or musical
                    performances; organization of exhibitions for cultural or educational purposes; amusement
                    parks; lending of books and other publications; film production, other than advertising films;
                    production of music; publication of printed matter, in particular books, newspapers,
                    magazines, manuals, posters and brochures; theatre productions; holiday camp services for
                    entertainment; providing on-line computer games; providing museum exhibitions, movie
                    studios; charitable services, namely, providing of books, educational material in the nature of
                    books, puzzles, magazines to those in need

                    The color(s) light brown,   yellow,   red, green, violet, white and black   is/are claimed   as a
                    feature of the mark.

                    OWNER OF EUROPEAN UNION , REG. NO. 012095601, DATED 01-21-2014, EXPIRES
                    08-28-2023

                    The mark consists of a stylized image of a young boy with light brown skin and yellow hair
                    wearing a long green and red cape with sleeves and yellow stars at the shoulders, violet boots
                    to his knees, and a violet flower at his neck. He has one hand on his hip and is holding a
                    violet sword with his other hand. Under his cape he is wearing white clothes and a yellow
                    belt. His eyes, nose, mouth and outline are in black.

                    SER. NO. 87-245,646, FILED 11-22-2016




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          ited States of Amery,
                        GQnited States Patent and Trademark Office                                                         lta


                                   Le Potit Primce
Reg. No. 5,751,737                  SOCIETE POUR L'OEUVRE ET LA MEMOIRE D'ANTOINE DE SAINT EXUPERY -
                                    SUCCESSION DE SAINT EXUPERY-D'AGAY (FRANCE société civile (sc) )
Registered May 14, 2019             Chateau D'agay, Agay
                                    83700 Saint-raphaél, FRANCE 83700
Int. Cl.: 2, 3, 8, 9, 11, 12,       CLASS 2: (Based on 44(e)) Paints, varnishes, lacquers; Preservatives against rust and against
14, 16, 18, 20, 21, 24, 25,         deterioration of wood in the nature of a coating; colorants; mordant dyes; metals in foil and

26, 27, 28, 30, 31, 32, 41          powder form for painters, decorators, printers and artists; raw natural resins; fixatives for
                                    watercolors in the nature of a varnish; thinners for paints; thickeners for paints; siccatives in
                                    the nature of drying agents for paints; binding preparations for paints
Service Mark
                                    CLASS 3: (Based on 44(e)) Bleaching preparations and washing preparations for laundry use;
Trademark                           cleaning, polishing, degreasing and abrasive preparations for household use; Soaps;
                                    perfumery,   essential oils, cosmetics,   hair lotions;   dentifrices;   bath   salts, not for medical
Principal Register                  purposes; cotton sticks for cosmetic purposes; cotton wool for cosmetic purposes; potpourris
                                    in the nature of fragrances; pumice stone for personal use; sachets for perfuming linen;
                                    scented wood; non-medicated toiletry preparations; decorative transfers for cosmetic purposes

                                    CLASS 8: (Based on 44(e)) Tableware, namely, cutlery; Manicure sets

                                    CLASS 9: (Based on 44(e)) Measuring apparatus and instruments, namely, thermometers
                                    other than for medical purposes, height rulers; apparatus and instruments for the supply,
                                    distribution, transformation, accumulation, regulation or control of electric current, namely,
                                    battery chargers, mobile power supply in the nature of a rechargeable battery; apparatus for
                                    recording, transmission or reproduction of sound or images; calculating machines, data
                                    processing equipment and computers; DVDs, video discs and video tapes with recorded
                                    animated cartoons; cases especially made for photographic apparatus and instruments;
                                    computer peripheral devices; containers for contact lenses; covers for electric outlets;
                                    electronic publications, downloadable, namely, children's books and magazines, comic books,
                                    graphic novels; decorative magnets; mouse pads; spectacle cases; spectacle frames; recorded
                                    computer software, namely, children's educational software; downloadable computer
                                    software, namely, children's educational software; computer game programs; audiovisual
                                    recordings featuring children's entertainment; music recordings; video recordings featuring
                                    children's entertainment; animated    films featuring children's entertainment;         motion picture
                                    films featuring children's entertainment; electronic publications recorded on computer media,
                                    namely, children's books and magazines, comic books, graphic novels; battery chargers;
                                    mobile power supply in the nature of a rechargeable battery; blank USB flash drives;
                                    protective covers and cases for cell phones; protective covers and cases for tablet computers;
                                    cell phone straps; downloadable ring tones for mobile phones; downloadable music files

                                    CLASS 11: (Based on Use in Commerce) lighting apparatus, namely, decorative lights in the
                                    nature of electrically illuminated figurines; heating apparatus, namely, hot water bottles;
                                    strings of lights; luminaries; lamps; string lights for festive decoration; desk lamps; bedside
                                    lights, namely, electric night lights; table lamps; wall lamps; pedestal lamps; hanging lamps;
                                    pocket searchlights; lanterns for lighting; glow books in the nature of electric night lights;
   Director of the United States    illuminated panels; lighting apparatus for shadow puppet theatres; electric and battery-
   Patent and Trademark Office      operated night lights; lamp globes; heaters, electric, for feeding bottles
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                    FIRST USE 2-00-2015; IN COMMERCE 2-00-2015

                    CLASS 12: (Based on 44(e)) Baskets adapted for cycles; cycle bells; cycle saddles; saddle
                    covers for bicycles or motorcycles; fitted covers for baby carriages; hoods for baby carriages;
                    safety seats for children, for vehicles; fitted seat covers for vehicles; baby carriages; strollers;
                    anti-theft devices for vehicles; cycle pumps; sun-blinds adapted for automobiles

                    CLASS      14: (Based on 44(e)) Precious metals and their alloys and goods in precious metals or
                    coated therewith, not included in other classes, namely, figurines and works of art; precious
                    stones; horological and chronometric instruments; Cases being parts of watches and clocks;
                    cases adapted for holding watches for presentation; collectible coins; jewelry cases being
                    caskets; key rings being trinkets or fobs of precious metal; silver medals; gold medals; watch
                    bands; cases adapted for holding watches

                    CLASS 16: (Based on 44(e)) Paper, cardboard and goods made from these materials, not
                    included in other classes, namely, bibs of paper, boxes of cardboard or paper, table linen of
                    paper, place mats of paper, coasters of paper, paper serviettes, paper handkerchiefs, paper
                    bunting, paper tags, works of art and figurines of paper and cardboard, gift wrapping paper,
                    shopping bags of paper; printed matter, namely, children's books and magazines, comic
                    books, graphic novels, cookbooks, books for embroidery, puzzle books, writing or drawing
                    books, coloring books, activity books, exercise books, language learning books being printed
                    matter for instructional or teaching purposes, agendas, diaries, address books, notebooks,
                    invitation cards, collectible trading cards, novelty diplomas, event albums, sticker albums,
                    lithographic prints, art prints; photographs; stationery; adhesives for stationery or household
                    purposes; artists’ materials, namely, drawing instruments, palettes for painters, artists’
                    watercolour saucers, painters' easels, modeling materials, pastel crayons, oil pastels; paint
                    brushes; typewriters and office requisites except furniture, namely, desktop stationery
                    cabinets, paper knives, correcting tapes, correcting fluids for documents, erasers, pencil
                    sharpeners, rubber stamps, adhesive tape dispensers, holders for adhesive tapes, staplers,
                    staples, thumbtacks, paper-clips; instructional and teaching material except apparatus,
                    namely, blackboards; plastic materials for packaging not included in other classes, namely,
                    film, bubble packs and bags; printers' type; printing blocks; holders for checkbooks; passport
                    holders; Decals and stickers for use as home decor; printed paper labels; prints; bookmarks;
                    stickers; temporary tattoo transfers; embroidery design patterns printed on paper; printed
                    patterns for making clothes; printed sewing patterns; Advent calendars and chocolate sold
                    together as a unit

                    CLASS      18: (Based on 44(e)) Leather and imitations of leather, and goods made of these
                    materials and not included in other classes, namely,               suitcases, luggages,     luggage   tags,
                    shoulder    bags,   holdalls,   pochettes,   leather   or leather-board   boxes;   animal   skins; trunks;
                    umbrellas, parasols and walking sticks; whips, harness and saddlery; Backpacks; bandoliers;
                    beach bags; bags for campers in the nature of rucksack; bags for climbers in the nature of all-
                    purpose carrying bags; handbags; garment bags for travel; briefcases; card cases (notecases)
                    calling card and business card cases being notecases; purses; school bags; shopping bags of
                    canvas; sling bags for carrying infants; wheeled shopping bags; pouch baby carriers; belt bags
                    and hip bags; pouches of leather; pouches made from imitation leather; pouches of textile;
                    tote bags; bags for sports; slings for carrying infants

                    CLASS 20: (Based on 44(e)) Furniture, mirrors, picture frames; goods (not included in other
                    classes)   of wood,     cork, reed,   cane, wicker,     horn, bone,   ivory,   whalebone,   shell, amber,
                    mother-of-pearl, meerschaum and substitutes for all these materials, or of plastics, namely,
                    bins, boxes, figurines, infant walkers; Air cushions, not for medical purposes; air mattresses,
                    not for medical purposes; air pillows, not for medical purposes; bedding except linen, namely,
                    bed pillows and feather beds; bolsters; chests for toys; clothes hooks, not of metal; coat
                    hangers; coathooks, not of metal; covers for clothing in the nature of wardrobes; curtain tie-
                    backs in the nature of non-textile curtain holders; cushions; furniture fittings, not of metal;
                    door fittings, not of metal; fans for personal use, non-electric; indoor window blinds being
                    shades; mobiles being decoration; wind chimes being decoration; magazine racks; newspaper
                    display stands; pillows; playpens for babies; sleeping bags for camping; statues of wood, wax,
                    plaster or plastic; statuettes of wood, wax, plaster or plastic; works of art, of wood, wax,
                    plaster or plastic; Baby changing mats; mats for infant playpens




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                    CLASS 21: (Based on 44(e)) Household or kitchen containers; combs and sponges, namely,
                    scrub sponges and cleaning sponges; brushes except paint brushes, namely, cleaning brushes
                    for household    use; beverageware of glassware, porcelain            and earthenware not included in
                    other classes; portable baby bathtubs; paper towel dispensers in the nature of boxes of metal,
                    for household use; baskets for domestic use; candy boxes; coasters other than of paper or of
                    table linen; cookery molds; cookie cutters; bread bins; cookie jars; tea caddies; salt cellars;
                    pepper pots; sugar bowls; tableware, other than knives, forks and spoons, namely, table
                    plates, drinking glasses, tumblers, bowls, cups, mugs, egg cups, tea services, coffee services,
                    place mats, not of paper or textile; tableware of porcelain, namely, cups, plates and bowls;
                    tableware namely, bowls, tumblers, tea services, coffee services, place mats, not of paper or
                    textile; cups of paper or plastic; disposable table plates; drinking vessels; bottle gourds; lunch
                    boxes; napkin rings; napkin holders; cutting boards for the kitchen; trays for domestic
                    purposes; dustbins; perfume burners; cosmetic utensils, namely, cosmetic brushes; toilet
                    utensils, namely, toilet brushes and toilet brush holder; fitted vanity cases; comb cases; soap
                    boxes; soap holders; soap dispensers; powder compacts; powder puffs; menu card holders;
                    isothermic bags, namely, thermal insulated bags for food or beverages; piggy banks, not of
                    metal; watering cans; flower pots; flower-pot covers, not of paper; works of art and figurines
                    being statuettes of porcelain, ceramics, earthenware or glassware

                    CLASS     24: (Based on 44(e)) Textiles and textile goods, not included in other classes, namely,
                    household linen, table linen, bath linen except clothing, travelling rugs being lap robes,
                    sleeping bags in the nature of sheeting, handkerchiefs of textile, unfitted furniture covers; bed
                    covers; plastic table covers; curtains of textile or plastic; shower curtains of textile or plastic;
                    cloth flags; unfitted furniture coverings of plastic; bed linen; bed blankets; pillowcases;
                    fabrics for textile use; interior decoration fabrics; printed fabric labels

                    CLASS     25:   (Based    on   44(e))   Clothing,   namely,   pullovers,   shirts, pants,   trousers,   suits,
                    dresses, skirts, coats, parkas, jackets, vests, uniforms, ponchos, capes, infantwear, nightwear,
                    underwear, hosiery, teddies being underclothing, baby layettes for clothing, bodysuits,
                    headscarves, neckties, sashes for wear, sleepwear for babies in the nature of baby sleeping
                    bags and sleep sacks, dressing gowns, gowns, bath robes, aprons, painting aprons, suspenders,
                    belts, money belts, shawls, masquerade costumes, costumes for use in children's dress up
                    play, gloves, mittens, muffs, ear muffs, footmuffs, swimwear, footwear, headgear, namely,
                    hats, caps, berets, hoods, sun visors being headwear, headbands; Bibs, not of paper; Baby
                    bodysuits; hoodies being clothing; jerseys being clothing; jumpsuits; scarves; socks;
                    sweatshirts; tops being clothing; t-shirts; tank tops; sleep masks

                    CLASS     26: (Based on 44(e)) Lace and embroidery, ribbons and braid; buttons, hooks and
                    eyes, pins and needles for sewing;          artificial flowers; hair ornaments; barrettes being hair-
                    slides; hair bands; hair pins; belt clasps; brassards; brooches being clothing accessories;
                    buckles   for clothing;    hat ornaments,      not of precious    metal; haberdashery, except thread,
                    namely, fabric appliques; sewing boxes; heat adhesive patches for decoration of textile
                    articles being haberdashery; heat adhesive patches for repairing textile articles; letters for
                    marking linen in the nature of marking pins; badges for wear, not of precious metal, namely,
                    omamental novelty badges; shoe laces; shoe ornaments, not of precious metal; Appliques
                    being haberdashery

                    CLASS 27: (Based on 44(e)) Carpets, rugs, mats and matting, linoleum and other materials
                    for covering existing floors; non-textile wall hangings; Wallpaper; Wallpaper in the nature of
                    roomsize decorative adhesive wall coverings; wall coverings of paper; wall coverings of
                    plastic; wall coverings of textile

                    CLASS 28: (Based on 44(e)) Games and playthings, namely, robots being playthings, balls
                    for games, soft play balls, toy musical boxes, puzzle boxes, snow globes, toy picture cubes,
                    toy stacking blocks, toy tea sets, toy figures, dominoes, lottery games being parlour games,
                    parlor games, toys incorporating money boxes, magnetic spinning musical boxes being toys,
                    spinning musical boxes being toys, soft sculpture toys, cube puzzles, jigsaw puzzles, artificial
                    Christmas trees, playmats and early-learning mats for babies containing infant toys, spinning
                    tops, shadow puppet theatres being playthings for children, toy trolleys, swings, toy building
                    blocks, playing cards, playing card cases, kites, rocking horses, toy swords, building games,
                    portable games with liquid crystal displays, video game machines, fairground ride apparatus,
                    puppets, swimming pools being play articles, inflatable pools for recreational use, toy



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                    scooters, toy vehicles, radio-controlled toy vehicles, puzzles, bowling pins, plush toys, bath
                    toys, baby gyms, toy mobiles, electronic games for the teaching of children, children's
                    multiple activity toys, novelty toys for parties, children's dress-up accessories, children's
                    educational toys for developing fine motor, cognitive and counting skills; Gymnastic and
                    sporting articles not included in other classes except rackets, balls, string, straps, grips,
                    vibration dampeners, eye protectors, tennis, badminton, squash and racketball ball-throwing
                    machines, namely, swimming belts, water wings, ice skates, roller skates, in-line roller skates,
                    trampolines; decorations for Christmas trees

                    CLASS 30: (Based on 44(e)) Coffee, tea, cocoa, sugar, rice, tapioca, sago, artificial coffee;
                    flour and preparations made from cereals, namely, cereal bars, cereal-based snack food;
                    bread, pastry and confectionery, namely, biscuits, cakes, candies being sweets, confectionery
                    made of sugar, chocolate confections, frozen confectionery, ices; honey, treacle; yeast,
                    baking-powder; salt, mustard; vinegar, sauces being condiments; spices; Cocoa-based
                    beverages; chocolate-based beverages; tea-based beverages; chocolate bars; cookies;
                    chocolate candy for use in advent calendars; candy in the nature of edible decorations for
                    Christmas trees; chocolate candy in the form of chocolate eggs

                    CLASS 31: (Based on 44(e)) live animals; fresh fruits and vegetables; seeds, natural plants
                    and flowers; foodstuffs for animals, malt for brewing and distilling

                    CLASS 32: (Based on 44(e)) Mineral and aerated waters and other non-alcoholic drinks,
                    namely, beverages flavored with tea, beverages flavored with coffee; fruit drinks and fruit
                    juices; syrups for making non-alcoholic beverages

                    CLASS 41: (Based on 44(e)) Education, namely, providing classes and seminars in the field
                    of children's entertainment; providing training in the field of children's entertainment;
                    entertainment, namely, providing play facilities for children, providing on-line interactive
                    children’s stories; Booking of seats for shows; providing information about education;
                    entertainment   information;   publications,   not downloadable,   namely,   children's   books   and
                    magazines, comic books, graphic novels; publication of books; publication of electronic
                    books and journals on-line; publication of texts, other than publicity texts; rental of show
                    scenery; rental of stage scenery; radio entertainment, namely, on-going radio programs in the
                    field of children's entertainment; television entertainment, namely, on-going television
                    programs in the field of children's entertainment; rental of cine-films; toy rental; games
                    equipment rental; videotape editing; production of radio and television programmes; music-
                    halls; organization of fashion shows for entertainment purposes; operating lotteries; arranging
                    of shows, namely, planning arrangement of showing shows, plays, or musical performances;
                    organization of exhibitions for cultural or educational purposes; amusement parks; lending of
                    books and other publications;     film production, other than advertising films; production of
                    music; publication of printed matter, in particular books, newspapers, magazines, manuals,
                    posters and brochures; theatre productions; holiday camp services for entertainment;
                    providing on-line computer games; providing museum exhibitions; movie studios; charitable
                    services, namely, providing of books and educational material in the nature of books, puzzles,
                    and magazines to those in need

                    OWNER OF EUROPEAN UNION , REG. NO. 008753881, DATED 06-02-2010, EXPIRES
                    12-14-2019

                    OWNER OF EUROPEAN UNION , REG. NO. 002618338, DATED 10-16-2003, EXPIRES
                    03-14-2022

                    OWNER OF EUROPEAN UNION , REG. NO. 004451001, DATED 05-30-2006, EXPIRES
                    05-24-2025

                    OWNER OF EUROPEAN UNION , REG. NO. 002618338, DATED 10-16-2003, EXPIRES
                    03-14-2022

                    The mark consists of "Le Petit Prince” in a stylized form.

                    The English translation of "LE PETIT PRINCE" in the mark is "THE LITTLE PRINCE".

                    SER. NO. 87-245,534, FILED 11-22-2016



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